Case 21-30589-MBK        Doc 3021      Filed 09/13/22 Entered 09/13/22 13:15:21              Desc Main
                                     Document      Page 1 of 6


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY

                     D.N.J. LBR 2016-1 FEE APPLICATION COVER SHEET

                                 FEE STATEMENT COVER SHEET

 Debtor:        LTL Management LLC             Applicant:       Bailey Glasser LLP

 Case No.:      21-30589 (MBK)                 Client:          Official Committee of Talc Claimants

 Chapter:       11                             Case Filed:      October 14, 2021

             COMPLETION AND SIGNING OF THIS FORM CONSTITUTES A CERTIFICATION
               UNDER PENALTY OF PERJURY, PURSUANT TO 28 U.S.C. SECTION 1746


                                            SECTION I
                                          FEE SUMMARY

                               Monthly Fee Statement Covering The Period
                                August 1, 2022 Through August 31, 2022

 Interim Monthly Fee Statement No. 10.

 Summary of Amounts Requested for the Period from August 1, 2022 through August 31, 2022
 (the “Ninth Statement Period”):

 Total Fees:                                             $   92,835.00
 Total Disbursements                                     $    7,336.89
 Minus 20% Holdback of Fees                              $   18,567.00
 Amount Sought at this Time:                             $   81,604.89
Case 21-30589-MBK         Doc 3021     Filed 09/13/22 Entered 09/13/22 13:15:21    Desc Main
                                     Document      Page 2 of 6




    NAME OF PROFESSIONAL               YEAR ADMITTED           HOURS   RATE       FEE
          & TITLE                         (Or Years Of
                                       Professional Service)

  1. D. Todd Matthews, Partner                1996              10.3   750.00   7,725.00

  2. Kevin W. Barrett, Partner                1987              21.6   975.00   21,060.00

  3. Brian A. Glasser, Partner                1994              14.4   975.00   14,040.00

  4. Leslie A. Brueckner, Partner             1988              2.5    750.00   1,875.00

  5. Maggie B. Burris, Partner                2014              2.6    750.00   1,950.00

  6. Carlos E. Duque, Associate               2009              32.8   550.00   18,040.00

  7. Thomas B. Bennett, Of Counsel            1976              27.5   975.00   26,812.50

  8. Jason E. Kittinger                        N/A               4.1   325.00    1,332.50

  9. TOTAL FEES                                                115.8            92,835.00

  10. BLENDED RATE                                                     801.68
Case 21-30589-MBK           Doc 3021      Filed 09/13/22 Entered 09/13/22 13:15:21                Desc Main
                                        Document      Page 3 of 6



                                           SECTION II
                                       SUMMARY OF SERVICES
  SERVICES RENDERED                                                             HOURS       FEE
  a) Asset Analysis and Recovery:
     Identification and review of potential assets including causes of
                                                                                        0             $0
     action and non-litigation recoveries.

  b) Asset Disposition
     Sales, leases (section 365 matters), abandonment and related                       0             $0
     transaction work related to asset disposition.
   c) Assumption and Rejection of Leases and Contracts
      Analysis of leases and executory contracts and preparation of                     0             $0
      motions specifically to assume or reject.
   d) Avoidance Action Analysis
      Review of potential avoiding actions under Sections 544–549 of
                                                                                        0             $0
      the Code to determine whether adversary proceedings are
      warranted.
   e) Budgeting (Case)
                                                                                        0             $0
      Preparation, negotiation, and amendment to budgets for applicant.
   f) Business Operations
      Issues related to debtor-in-possession operating in chapter 11 such               0             $0
      as employee, vendor, tenant issues and other similar problems.
   g) Case Administration
      Coordination and compliance activities not specifically covered by             4.8      $2,535.00
      another category.
   h) Claims Administration and Objections
      Specific claim inquiries; bar date motions; analyses, objections and           1.8      $1,755.00
      allowances of claims.
   i)   Corporate Governance and Board Matters
        Preparation for and attendance at Board of Directors meetings;
        analysis and advice regarding corporate governance issues,                      0             $0
        including trustee, examiner, and CRO issues; review and
        preparation of corporate documents (e.g., articles and bylaws, etc.).
   j)   Employee Benefits and Pensions
        Review and preparation related to employee and retiree benefit
                                                                                        0             $0
        issues, including compensation, bonuses, severance, insurance
        benefits, and 401K, pensions, or other retirement plans.
   k) Employment and Fee Applications
      Preparation of employment and fee applications for self or others;             6.6      $6,110.00
      motions to establish interim procedures.
   l)   Employment and Fee Application Objections
        Review of and objections to the employment and fee applications             13.6     $13,260.00
        of others.
Case 21-30589-MBK        Doc 3021      Filed 09/13/22 Entered 09/13/22 13:15:21      Desc Main
                                     Document      Page 4 of 6



   m) Litigation
      Contested Matters and Adversary Proceedings (not otherwise
      within a specific project category), each identified separately by
                                                                            77.4   $57,865.00
      caption and adversary number, or title of motion or application
      and docket number, and using the Uniform Task Based
      Management System (‘‘UTBMS’’) Litigation Task Code Set.
   n) Meetings and Communications with Creditors
      Preparation for and attendance at section 341(a) meeting and          10.8   $10,530.00
      any other meetings with creditors and creditors’ committees.
   o) Non-Working Travel
      Non-working travel where the court reimburses at less than full       0.00          $0
      hourly rates.
   p) Plan and Disclosure Statement
      Formulation, presentation and confirmation; compliance with
      the plan confirmation order, related orders and rules;
                                                                              .8     $780.00
      disbursement and case closing activities, except those related to
      the allowance and objections to allowance
      of claims.
   q) Real Estate
      Review and analysis of real estate-related matters, including
                                                                              0           $0
      purchase agreements and lease provisions (e.g., common area
      maintenance clauses).
   r) Relief from Stay and Adequate Protection
      Matters relating to termination or continuation of automatic stay
                                                                              0           $0
      under 11 U.S.C. 362 and motions for adequate protection under
      11 U.S.C. 361.
   s) Reporting
      Statement of financial affairs, schedules, monthly operating
      reports, and any other accounting or reporting activities;              0           $0
      contacts with the United States Trustee not included in
      other categories.
   t) Tax
      Analysis of tax issues and preparation of federal and state tax         0           $0
      returns.
   u) Valuation
                                                                              0           $0
      Appraise or review appraisals of assets.
  SERVICE TOTALS:                                                          115.8   $92,835.00
Case 21-30589-MBK      Doc 3021        Filed 09/13/22 Entered 09/13/22 13:15:21   Desc Main
                                     Document      Page 5 of 6



                                   SECTION III
                             SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                          AMOUNT

   a)   Copies                                                                         0.00

   b) Outside Printing                                                                0.00

   c) Telephone                                                                       0.00

   d) Facsimile                                                                       0.00

   e) Online Research                                                              3,194.27

   f)   Delivery Services/Couriers                                                    0.00

   g) Postage                                                                         0.00

   h) Local Travel                                                                    0.00

   i)   Out-of-town Travel

   j)   Out-of-town Travel: Transportation                                            0.00

   k) Out-of-town Travel: Hotel                                                       0.00

   l)   Out-of-town Travel: Meals                                                     0.00

   m) Out-of-town Travel: Ground Transportation                                       0.00

   n) Out-of-town Travel: Other                                                       0.00

   o) Meals (local)                                                                   0.00

   p) Court Fees                                                                      0.00

   q) Subpoena Fees                                                                   0.00

   r)   Witness Fees                                                                  0.00

   s)   Deposition Transcripts                                                     3,794.66

   t)   Trial Transcripts                                                             0.00

   u) Trial Exhibits                                                                  0.00

   v) Litigation Support Vendors                                                    347.96

   w) Experts                                                                         0.00

   x) Investigators                                                                   0.00
Case 21-30589-MBK           Doc 3021      Filed 09/13/22 Entered 09/13/22 13:15:21    Desc Main
                                        Document      Page 6 of 6



    DISBURSEMENTS                                                                 AMOUNT

    y) Arbitrators/Mediators                                                               0.00

    z) Other—Court Call                                                                    0.00

    DISBURSEMENTS TOTAL:                                                              $7,336.89




 I certify under penalty of perjury that the above is true.


 Dated: September 13, 2022                                    /s/ Thomas B. Bennett
                                                                   Thomas B. Bennet
